

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-67,031-01






ALEJANDRO GARCIA, Relator


v.


ANGELINA DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. 25851-A AND 25850-A

IN THE 159th/ 217th JUDICIAL DISTRICT COURTS OF ANGELINA COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed two applications for writs of habeas corpus
in the 159th/ 217th Judicial District Courts of Angelina County, that more than 35 days have elapsed,
and that the applications have not yet been forwarded to this Court.

	In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Angelina County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus applications; submitting a copy of timely filed orders which designate issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the
nature of the claims asserted in the applications filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed any
applications for habeas corpus in Angelina County.  This application for leave to file a writ of
mandamus shall be held in abeyance until the respondent has submitted the appropriate response. 
Such response shall be submitted within 30 days of the date of this order.



Filed: March 28, 2007

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